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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             HATTIESBURG DIVISION



UNITED STATES OF AMERICA                                                   RESPONDENT


VERSUS                                        CRIMINAL ACTION NO. 2:96cr30KS-MTP

                                                   CIVIL ACTION NO. 2:00cv63KS-MTP

KIRKSEY McCORD NIX, JR.                                           DEFENDANT/MOVANT



                        MEMORANDUM OPINION AND ORDER

       This matter is before the court on motion of the defendant, Kirksey McCord Nix,

Jr., to alter or amend this court’s order denying his motion for Section 2255 relief

pursuant to Rule 59(e), Federal Rules of Civil Procedure [#816]. The court, having

reviewed the motion and the response of the United States, and being otherwise fully

advised in the premises, finds that the motion is not well taken and should be denied.

The court specifically finds as follows:

       On March 7, 2007, this court entered its order denying Nix’s Section 2255

petition. Feeling aggrieved with that decision, Nix has requested relief under Rule

59(e). “A motion to alter or amend the judgment under Rule 59(e) ‘must clearly

establish either a manifest error of law or fact or must present newly discovered

evidence’ and ‘cannot be used to raise arguments which could, and should, have been

made before the judgment issued.’” Rosenzweig v. Azurix Corp., 332 F.3d 854, 863-64

(5th Cir. 2003)(quoting Simon v. United States, 891 F.2d 1154, 1159 (5th Cir.1990)).

Relief under Rule 59(e) is also appropriate when there has been an intervening change
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in the controlling law. In re Benjamin Moore & Co., 318 F.3d 626, 629 (5th Cir.2002).

       In ruling on such a motion, the Fifth Circuit has instructed that “a district court

should consider the following nonexclusive list of factors: (1) the reasons set forth by

the movant justifying consideration of evidence or arguments that the movant failed to

present in the underlying motion (2) the importance of the reconsideration of the

underlying motion to the movant’s case (3) whether the reasons set forth by the movant

justifying the reconsideration were available to the movant before [he] responded to the

underlying motion and (4) the likelihood that the non-movant will suffer unfair prejudice

if the motion is reconsidered.” Harrigill v. U.S.A., 2004 WL 1595676 (S.D. Miss., June

1, 2004) (citing Sturges v. Moore, 73 Fed. Appx. 777, 778 (5th Cir. 2003)).

       The present motion filed by Nix seeks to reargue the same facts and the

application of the same law to those facts as was argued in the original motion and

response. He is attempting a “second bite” at the apple. Neither the facts nor the law

have changed in the intervening period of entry of the judgment and the present motion.

Therefore, the court finds that the motion is not well taken and should be denied.

       IT IS THEREFORE ORDERED AND ADJUDGED that the Nix’s Motion to Alter

or Amend the Judgment [#816] is denied and that any other pending motion is

dismissed as moot.

       SO ORDERED AND ADJUDGED this the 16th day of April, 2007.



                                                  s/Keith Starrett
                                                  UNITED STATES DISTRICT JUDGE




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